     Case 6:07-cr-00031-WTM-GRS Document 534 Filed 01/16/09 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION

UNITED STATES OF AMERICA

V.
                                         CASE NO. CR607-031
WOODARD HOOK LEWIS, Jr.,

      Defendant.


                                    ORDER

      Before the Court is Defendant Lewis's Amended Motion fQr Leave to

Attend Funeral.       (Doc. 533.)    Defendant asks the he be allowed a

furlough from the Bulloch County Jail on Sunday, January 18, 2009 to

attend his brother's funeral in Bulloch County. Neither the Government

nor the United States Probation Office opposes this request. After

careful consideration, Defendant's Motion is GRTED, subject to the

following conditions. Defendant shall be released from the Bulloch

County Jail on Sunday, January 18 so that he may attend the funeral.

Immediately following the funeral, but no later than four (4) hours

after his release, Defendant shall return to the Bulloch County Jail.

Defendant shall be responsible for arranging his own transportation.

Once released, Defendant, without deviation or variance of any kind,
shall go directly from the jail to the funeral and, upon its

conclusion, return directly from the funeral to the jail.

      SO ORDERED this    fbtlay of January, 2009.


                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
